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AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Middle District
                                                   __________        of Pennsylvania
                                                               District of __________

                    ARNOLD J. HARRIS                                 )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:15-cv-1411
       J.A. ECKARD, SUPERINTENDENT, et al                            )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Judgment is hereby entered in favor of Defendants, J. A. Eckard, B. Hollibaugh and W. S. Walters and
               against the Plaintiff, Arnold J. Harris.
                                                                                                                                     .

This action was (check one):

u tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

u decided by Judge                                                                             on a motion for

                                                                                                                                     .

Date: February 2, 2018                                                      CLERK OF COURT


                                                                             s/Rashelle Weida
                                                                                          Signature of Clerk or Deputy Clerk
